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IN 'I`I'IE UNITED STATES DlSTRICT COURT
FOR THE DISTRICT ()F C()I_.UMBIA

UNITED STATES OF AMERICA ) Criminzll No. lS-CR-|]UUSI
) UNDER SEAL_
v. )
)
OVIDIO GUZMAN LOI’EZ aka )
“EL RATON” and “RATON NUEV()" )
)
Defendant. )
ORI)ER

Upon the government’s motion t`or an order unsealing the dcfcndant"s indictment and
arrest warrant for the limited purpose ol` complying with requirements for an extradition
applieation, it is hereby

ORDER F,I) that thc indictment and arrest warrant as to defendant Ovidio Guzman Lopez
also known as "El Raton" and "Raton Nuevo", be unsealed for the limited purpose of` their
disclosure in an extradition application pursuant to the Fedel‘al Ru|es of`Criminal Procedure and
Title 18_. United States Code Section 3500.

lt is FURTHER ORDERED that these documents. along with all others in this case, will

Otherwise remain under Settl ztt this time.

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UNITED ST/-\TES DIS'I`RlC'l` .IUDGE
UNl'l`El) S'l`A'l`liS DIS'I`RICT COURT
l`~`()l{ 'l`l'lE DlS'l`RlC'I` OF COLUMBIA

 

 

